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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

TERRY LAMAR MCCOY                                                      PLAINTIFF

VS.                              4:21-CV-00282-BRW

JODI DENNIS                                                           DEFENDANT

                                      JUDGMENT

      Based on the order entered today, this case is DISMISSED without prejudice.

      IT IS SO ORDERED this 17th day of May, 2021.

                                          Billy Roy Wilson__________________
                                          UNITED STATES DISTRICT JUDGE
